Case 1:06-cr-00008-JMS-DML           Document 46       Filed 04/12/13      Page 1 of 4 PageID #: 95




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                    )
                                               )
                        Plaintiff,             )
                                               )
         v.                                    )      Cause No. 1:06-cr-8-11-LJM-DKL
                                               )
  JAKE E. ESTES,                               )
                                               )
                        Defendant.             )


              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


         This matter is before the Court pursuant to the April 8, 2013 Order entered by the Honorable

  Larry J. McKinney designating the duty Magistrate Judge to conduct a hearing on the Petition for

  Summons or Warrant for Offender Under Supervision filed on July 1, 2011. Pursuant to that Order,

  the Court herein submits proposed Findings of Facts and Recommendations for disposition under

  Title 18 U.S.C. §§ 3401(i) and 3583(e). Proceedings were held on April 10, 2013, in accordance

  with Rule 32.1 of the Federal Rules of Criminal Procedure.1

         On April 10, 2013, Jake E. Estes (“Estes”) appeared in person with appointed counsel, Joe

  Cleary . The government appeared by Josh Minkler, Assistant United States Attorney. U. S. Parole

  and Probation appeared by Jason Phillips, U. S. Parole and Probation officer.

         The Court conducted the following procedures in accordance with Rule 32.1(b)(2), Fed. R.

  Crim. P. and Title 18 U.S.C. § 3583:




         1
          All proceedings were recorded by suitable sound recording equipment unless otherwise
  noted. See, Title 18 U.S.C. § 3401(e).
Case 1:06-cr-00008-JMS-DML          Document 46         Filed 04/12/13       Page 2 of 4 PageID #: 96




        1.     Estes was re-advised of the nature of the violations alleged against him and

               acknowledged receipt of the notice of said allegations.

        2.     Estes stipulated that he committed Violations 1 through 4, as set forth in the Petition

               for Warrant or Summons for an Offender Under Supervision, filed with the Court on

               July 1, 2011 as follows:




   Violation           Nature of Noncompliance
   Number
         1             “The defendant shall not commit another federal, state, or local crime.”

         2             “The defendant shall refrain from excessive use of alcohol and shall not purchase,
                       possess, use, distribute, or administer any controlled substance or any paraphernalia
                       related to any controlled substance, except as prescribed by a physician.”


         3             “The defendant shall not frequent places where controlled substances are illegally
                       sold, used, distributed, or administered.”


         4             “The defendant shall not associate with any persons engaged in criminal activity and
                       shall not associate with any person convicted of a felony, unless granted permission
                       to do so by the probation officer.”

                       On June 29, 2011, Hanover Police, in conjunction with the United States Postal Inspection
                       Service, conducted a controlled delivery of a large amount of marijuana to 331 W.
                       Lagrange Road, Madison, Indiana. A female accepted and signed for the package.

                       A search warrant was obtained for the package through the U.S. District Court for the
                       Southern District of Indiana.

                       Officers maintained surveillance of the address and saw the defendant arrive and place the
                       package containing marijuana in his vehicle. They conducted a traffic stop and located the
                       package in the front passenger seat of the vehicle. Upon executing the search warrant,
                       officers located approximately six pounds of marijuana in the package. They also
                       recovered approximately $1,600 cash from various locations within the vehicle.

                       The defendant is charged with Possession of Marijuana as a Class D felony, in Jefferson
                       County, Indiana, Superior Court.


                                                 -2-
Case 1:06-cr-00008-JMS-DML              Document 46          Filed 04/12/13       Page 3 of 4 PageID #: 97




          3.      The highest grade of Violation (Violation 1) is alleged as a Grade B violation, pursuant to

                  U.S.S.G. § 7B1.1(a)(2).

          4.      The criminal history category for Estes is I.

          5.      The term of imprisonment applicable upon revocation of Estes’s supervised release,

                  therefore, is 4-10 months’ imprisonment. See, U.S.S.G. § 7B1.4(a).

          6.      The parties agreed that revocation and a term of imprisonment of 6 months with no

                  supervised release to follow was an appropriate disposition of the case.

          The Court, having heard the admissions of the defendant, the stipulations of the parties, and the

  arguments and discussions on behalf of each party, NOW FINDS that the defendant, Jake E. Estes, violated

  the above-delineated condition in the Petition.

          Mr. Estes’s supervised release is therefore REVOKED and he is sentenced to the custody of the

  Attorney General or his designee for a period of 6 months, with no supervised release to follow.

          The Magistrate Judge requests that Jason Phillips, U. S. Parole and Probation Officer,

  prepare for submission to the Honorable Larry J. McKinney, District Judge, as soon as practicable, a

  supervised release revocation judgment, in accordance with these findings of facts, conclusions of law and

  recommendation.

          Counsel for the parties and Mr. Bryant stipulated in open court waiver of the following:

                  1. Notice of the filing of the Magistrate Judge’s Report and Recommendation;

                  2. Objection to the Report and Recommendation of the undersigned Magistrate Judge

                  pursuant to Title 28 U.S.C. §636(b)(1)(B); Rule 72(b), Federal Rules of Civil Procedure, and

                  S.D.Ind.L.R.72.1(d)(2), Local Rules of the U.S. District Court for the Southern District of

                  Indiana.

          Counsel for the parties and Mr. Estes entered the above stipulations and waivers after being notified

  by the undersigned Magistrate Judge that the District Court may refuse to accept the stipulations and waivers
Case 1:06-cr-00008-JMS-DML              Document 46          Filed 04/12/13        Page 4 of 4 PageID #: 98



  and conduct a revocation hearing pursuant to Title 18 U.S.C. §3561 et seq. and Rule 32.1 of the Federal Rules

  of Criminal Procedure and may reconsider the Magistrate Judge’s Report and Recommendation, including

  making a de novo determination of any portion of the Report or specified proposed findings or

  recommendation upon which he may reconsider.

          WHEREFORE, the U. S. Magistrate Judge RECOMMENDS the Court adopt the above report and

  recommendation revoking Mr. Estes’s supervised release and imposing a sentence of imprisonment of 6

  months in the custody of the Attorney General or his designee with no supervised release to follow.

          IT IS SO RECOMMENDED this 04/12/2013




                                                          _______________________________
                                                          Denise K. LaRue
                                                          United States Magistrate Judge
                                                          Southern District of Indiana




  Distribution:



  Josh J. Minkler
  Assistant United States Attorney

  Joe Cleary
  Indiana Community Federal Defender


  U. S. Parole and Probation


  U. S. Marshal




                                                     -4-
